
34 So.3d 235 (2010)
Urbano MARTINEZ, Appellant,
v.
STATE of Florida, Appellee.
No. 3D09-248.
District Court of Appeal of Florida, Third District.
May 12, 2010.
Carlos J. Martinez, Public Defender, and Maria E. Lauredo, Assistant Public Defender, for appellant.
Bill McCollum, Attorney General, and Nicholas Merlin, Assistant Attorney General, for appellee.
Before GERSTEN, WELLS, and SALTER, JJ.
PER CURIAM.
Affirmed. Bloodsaw v. State, 994 So.2d 378 (Fla. 3d DCA 2008).
